           Case 17-33550 Document 1556 Filed in TXSB on 03/25/19 Page 1 of 6




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION                                                          ENTERED
                                                                                                               03/25/2019
In re:                                                           )        Chapter 11
                                                                 )
IGNITE RESTAURANT GROUP, INC., et al., 1                         )        Case No. 17-33550 (DRJ)
                                                                 )
                    Debtors.                                     )        (Jointly Administered)
                                                                 )             (Docket No. 1370)

                         ORDER SUSTAINING
               FIFTH OMNIBUS OBJECTION TO CLAIMS
PURSUANT TO SECTION 502(B) OF THE BANKRUPTCY CODE AND RULE 3007 OF
THE FEDERAL RULES OF BANKRUPTCY PROCEDURE SEEKING TO DISALLOW
                  AND EXPUNGE CERTAIN CLAIMS

                                         (UNLIQUIDATED CLAIMS)

           Upon the objection (the “Objection”) 2 of Drivetrain, LLC, in its capacity as Trustee (the

“GUC Trustee”) of the Ignite Restaurant Group GUC Trust (the “GUC Trust”) seeking entry of

an order (this “Order”) disallowing and expunging the Unliquidated Claims identified on

Schedule 1 attached hereto, it is HEREBY ORDERED THAT:

           1.       The Objection is sustained as set forth herein.

           2.       Pursuant to Section 502(b) of the Bankruptcy Code and Bankruptcy Rule 3007,

each Unliquidated Claim identified on Schedule 1 to this Order is disallowed and expunged in

its entirety.

           3.       The Debtors’ Claims Agent is authorized and directed to update the claims

register maintained in these chapter 11 cases to reflect the relief granted in this Order.

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number (if any), are: Ignite Restaurant Group, Inc. (1359); Ignite Restaurant Group – RSC LLC (1791); Joe’s Crab
Shack, LLC (4189); Joe’s Crab Shack – Redondo Beach, Inc. (5107); BHTT Entertainment, LLC (9818); Ignite
Restaurants – New Jersey, LLC (5907); Joe’s Crab Shack – Maryland, LLC (5297); Joe’s Crab Shack – Anne
Arundel MD, LLC (9318); Brick House Development, LLC (2944); JCS Monmouth Mall – NJ, LLC (3509); JCS
Development LLC (4235). The Debtors’ service address is: 10555 Richmond Avenue, Houston, Texas 77042.
2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Objection.



DOCS_DE:221034.3 40162/003
        Case 17-33550 Document 1556 Filed in TXSB on 03/25/19 Page 2 of 6




        4.       Each claim and the objections by the GUC Trustee to each claim identified in

Schedule 1 constitute a separate contested matter as contemplated by Bankruptcy Rule 9014.

This Order will be deemed a separate order with respect to each Unliquidated Claim.

        5.       Proof of claim number 1080 filed by BDO USA LLP shall be liquidated and

allowed as a general unsecured, non-priority claim in the total amount of $49,376.01.

        6.       Proof of claim number 604 filed by Ronald Wright shall be liquidated and

allowed as a general unsecured, non-priority claim in the total amount of $300,000.00.

        7.       Proof of claim number 618 filed by Wendy Alley Tant shall be liquidated and

allowed as a general unsecured, non-priority claim in the total amount of $36,000.00.

        8.       Except as otherwise provided in this Order, nothing herein shall be deemed: (a) an

admission as to the validity of any prepetition claim against a Debtor entity or such Debtor

entity’s estate; (b) a waiver of any party’s right to dispute any prepetition claim on any grounds;

(c) a promise or requirement to pay any prepetition claim; (d) an implication or admission that

any particular claim is of a type specified or defined in this Objection or any order granting the

relief requested by this Objection; (e) a request or authorization to assume any prepetition

agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; or (f) a waiver of

the GUC Trustee’s rights under the Bankruptcy Code or any other applicable law.

        9.       The terms and conditions of this Order will be immediately effective and

enforceable upon its entry.

        10.      The GUC Trustee, the Claims Agent, and the Clerk of the Court are authorized to

take all actions necessary to effectuate the relief granted pursuant to this Order in accordance

with the Objection.




DOCS_DE:221034.3 40162/003                       2
        Case 17-33550 Document 1556 Filed in TXSB on 03/25/19 Page 3 of 6




        11.      This Court shall retain exclusive jurisdiction to resolve any dispute arising from

or related to this Order.


   Signed: March 25, 2019.
Dated: _____________, 2019
       Houston, Texas                         _____________________________________
                                                ____________________________________
                                              THE HONORABLE
                                                DAVID  R. JONES DAVID R. JONES
                                              CHIEF UNITED
                                                UNITED STATESSTATES
                                                                BANKRUPTCY JUDGE
                                               BANKRUPTCY JUDGE




DOCS_DE:221034.3 40162/003                       3
        Case 17-33550 Document 1556 Filed in TXSB on 03/25/19 Page 4 of 6




                                  SCHEDULE 1




DOCS_DE:221034.3 40162/003
                                 Case 17-33550 Document 1556 Filed in TXSB on 03/25/19 Page 5 of 6



                                                                        Ignite Restaurant Group, Inc. et al.
                                                                    GUC Trust 5th Omnibus Objection to Claims
                                                                         Schedule 1 – Unliquidated Claims

        Note: Claimants are listed alphabetically.
SEQ                                                         CLAIM(S) TO BE DISALLOWED & EXPUNGED                                                                           GROUNDS FOR
NO.                        NAME                      DATE FILED     CASE NUMBER             CLAIM NO.          CLAIMED DEBTOR             CLAIM AMOUNT                       OBJECTION
      AIG PROPERTY CASUALTY INC AND ITS AFFILIATES     08/14/17       17-33550                 372        Ignite Restaurant Group, Inc.   Unsecured: Unliquidated      No Amount Asserted.
      IDENTIFIED ON THE ADDENDUM HERETO                                                                                                                                Claim Filed As
      ATTN KEVIN J LARNER ESQ                                                                                                                                          Unliquidated.
 1    80 PINE ST 13TH FL
      NEW YORK, NY 10005


      ANN IVERSON                                     09/01/17         17-33550                987        Ignite Restaurant Group, Inc.   Unsecured: Unliquidated      No Amount Asserted.
      2216 N STEELE                                                                                                                                                    Claim Filed As
 2    MESA, AZ 85207                                                                                                                                                   Unliquidated.


      CAPPIE MANSFIELD                                08/29/17         17-33550                605        Ignite Restaurant Group, Inc.   Unsecured: Unliquidated      No Amount Asserted.
      C/O THE SIMMS FIRM PLC                                                                                                                                           Claim Filed As
      ATTN STEPHANIE DURAN                                                                                                                                             Unliquidated.
 3    11325 RANDOM HILLS RD STE 360
      FAIRFAX, VA 22030


      CARMEN DUNHAM                                   07/24/17         17-33550                261        Ignite Restaurant Group, Inc.   Unsecured: Unliquidated      No Amount Asserted.
      C/O ROSENBAUM & ASSOCIATES                                                                                                                                       Claim Filed As
      1818 MARKET ST STE 3200                                                                                                                                          Unliquidated.
 4
      PHILADELPHIA, PA 19103


      CARMEN DUNHAM                                   07/31/17         17-33550                288        Ignite Restaurant Group, Inc.   Unsecured: Unliquidated      No Amount Asserted.
      C/O ROSENBAUM & ASSOCIATES                                                                                                                                       Claim Filed As
      1818 MARKET ST STE 3200                                                                                                                                          Unliquidated.
 5
      PHILADELPHIA, PA 19103


      CYNTHIA SESSUMS AS PARENT OF BS                 08/30/17         17-33550                633        Ignite Restaurant Group, Inc.        Unsecured: $0.00*       No Amount Asserted.
      402 BRYAN AVE                                                                                                                                                    Claim Filed As
 6    BRANDON, FL 33511                                                                                                                                                Unliquidated.


      F PHILIP HANDY                                  08/24/17         17-33550                426        Ignite Restaurant Group, Inc.   Unsecured: Unliquidated      No Amount Asserted.
      PO BOX 3090                                                                                                                                                      Claim Filed As
 7    WINTER PARK, FL 32790                                                                                                                                            Unliquidated.


      FRANCHISE TAX BOARD                             03/19/18         17-33550                1455       Ignite Restaurant Group, Inc.   Unsecured: Unliquidated      No Amount Asserted.
      PO BOX 2952                                                                                                                                                      Claim Filed As
 8    SACRAMENTO, CA 95812                                                                                                                                             Unliquidated.


      FRANCHISE TAX BOARD                             03/19/18         17-33552                1456             Joe's Crab Shack, LLC           Unsecured: $0.00       No Amount Asserted.
      PO BOX 2952                                                                                                                                                      Claim Filed As
 9    SACRAMENTO, CA 95812                                                                                                                                             Unliquidated.


      GWENDOLYN DENNIS                                07/31/17         17-33550                289        Ignite Restaurant Group, Inc.   Unsecured: $50,000.00*       No Amount Asserted.
      C/O CHRISTOPHER T MOYER ESQUIRE                                                                                                                                  Claim Filed As
      1818 MARKET ST STE 3620                                                                                                                                          Unliquidated.
10
      PHILADELPHIA, PA 19103


      GWENDOLYN DENNIS                                07/31/17         17-33552                290              Joe's Crab Shack, LLC     Unsecured: $50,000.00*       No Amount Asserted.
      C/O CHRISTOPHER T MOYER ESQUIRE                                                                                                                                  Claim Filed As
      1818 MARKET ST STE 3620                                                                                                                                          Unliquidated.
11
      PHILADELPHIA, PA 19103


      JOSEPH N STEIN                                  09/01/17         17-33550                980        Ignite Restaurant Group, Inc.   Unsecured: Unliquidated      No Amount Asserted.
      29 BRIDINGTON                                                                                                                                                    Claim Filed As
12    LAGUANA NIGUEL, CA 92677                                                                                                                                         Unliquidated.


      KEVIN COTTINGIM                                 09/01/17         17-33550                1037       Ignite Restaurant Group, Inc.   Unsecured: Unliquidated      No Amount Asserted.
      C/O HOOVER SLOVACEK LLP                                                                                                                                          Claim Filed As
      ATTN CURTIS MCCREIGHT                                                                                                                                            Unliquidated.
13    5051 WESTHEIMER STE 1200
      HOUSTON, TX 77056


      MAC ACQUISITION LLC                             08/31/17         17-33550                995        Ignite Restaurant Group, Inc.        Unsecured: $0.00*       No Amount Asserted.
      1855 BLAKE STREET                                                                                                                                                Claim Filed As
      SUITE 200                                                                                                                                                        Unliquidated.
14
      DENVER, CO 80202


      MAC ACQUISITION LLC                             08/31/17         17-33558                996          BHTT Entertainment, LLC            Unsecured: $0.00*       No Amount Asserted.
      1855 BLAKE STREET                                                                                                                                                Claim Filed As
      SUITE 200                                                                                                                                                        Unliquidated.
15
      DENVER, CO 80202


      NEW YORK STATE DEPARTMENT OF LABOR              08/28/17         17-33558                556          BHTT Entertainment, LLC               Secured:     $0.00   No Amount Asserted.
      ATTN JEAN HOFFMAN                                                                                                                         Unsecured:     $0.00   Claim Filed As
      STATE OFFICE CAMPUS                                                                                                                          Priority:   $0.00   Unliquidated.
16    BLDG 12 RM 256                                                                                                                               Admin:      $0.00
      ALBANY, NY 12240                                                                                                                           503(b)(9):    $0.00
                                   Case 17-33550 Document 1556 Filed in TXSB on 03/25/19 Page 6 of 6



                                                                          Ignite Restaurant Group, Inc. et al.
                                                                      GUC Trust 5th Omnibus Objection to Claims
                                                                           Schedule 1 – Unliquidated Claims

          Note: Claimants are listed alphabetically.
 SEQ                                                          CLAIM(S) TO BE DISALLOWED & EXPUNGED                                                                        GROUNDS FOR
 NO.                         NAME                      DATE FILED     CASE NUMBER             CLAIM NO.           CLAIMED DEBTOR            CLAIM AMOUNT                    OBJECTION
       NEW YORK STATE DEPARTMENT OF LABOR                08/28/17       17-33551                 550        Ignite Restaurant Group - RSC   Unsecured: Unliquidated   No Amount Asserted.
       ATTN JEAN HOFFMAN                                                                                                 LLC                                          Claim Filed As
       STATE OFFICE CAMPUS                                                                                                                                            Unliquidated.
  17   BUILDING #12, ROOM #256
       ALBANY, NY 12240


       RODNEY MORRIS                                    09/01/17         17-33550                1023       Ignite Restaurant Group, Inc.   Unsecured: Unliquidated   No Amount Asserted.
       C/O HOOVER SLOVACEK LLP                                                                                                                                        Claim Filed As
       ATTN CURTIS MCCREIGHT                                                                                                                                          Unliquidated.
  18   5051 WESTHEIMER STE 1200
       HOUSTON, TX 77056


       SHAUNA RYAN KING                                 08/30/17         17-33550                938        Ignite Restaurant Group, Inc.   Unsecured: Unliquidated   No Amount Asserted.
       5909 LUTHER LANE                                                                                                                                               Claim Filed As
  19   DALLAS, TX 75225                                                                                                                                               Unliquidated.


       STEFFANIE LYN RIGETTA                            08/17/17         17-33558                396          BHTT Entertainment, LLC       Unsecured: Unliquidated   No Amount Asserted.
       C/O WILLIAM TONELLI ESQ                                                                                                                                        Claim Filed As
       719 VASSAR ST                                                                                                                                                  Unliquidated.
  20
       ORLANDO, FL 32804



* Denotes an unliquidated component.
